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                         IN THE UNITED STATES DISTRICT COURT

                                FOR THE DISTRICT OF OREGON

                                       MEDFORD DIVISION



 CARLO VERIT AS,                                                          Case No. 1: 15-cv-O 1623-CL

        Plaintiff,
                                                              STIPULATED MOTION AND ORDER
                VS.
                                                              FOR DISMISSAL WITH PREJUDICE
 COUNTRY MUTUAL INSURANCE
 COMPANY,

        Defendant.


       Pursuant to Fed R Civ P 41, the parties to this action hereby stipulate to the dismissal of all

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 STIPULATED MOTION AND ORDER FOR DISMISSAL WIT! I PREJUDICE                                             s3 I 464


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claims and counterclaims with prejudice and without an award of attorney fees, costs, or

disbursements to any party.

IT IS SO STIPULATED:


   DATED: December 8, 2017                                  DA TED: December 8, 2017

   TAYLOR & TAPPER                                          THENELL LAW GROUP, P.C.

   By: Isl Clinton Tapper                                   By: Isl Daniel E. Thenelf
   Clinton Tapper                                           Daniel E. Thenell, OSB #971655
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   R. Scott Taylor                                          Of Attorneysfor Defendant County
   scottla1taylortapper.com;                                Mutual Insurance Company
   Of Attorneys for Plaintiff




                              ORDER APPROVING STIPULATION

         This matter having come before the court on the Stipulation of Plaintiff Carlo Veritas and

Defendant Country Mutual Insurance Company, therefore, it is hereby

         ORDERED, ADJUDGED AND DECREED that all claims by Plaintiff Carlo Veritas

against Defendant are hereby dismissed with prejudice and without attorney fees and costs to either

party.

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 STIPULATED MOTION AND ORDER FOR DISMISSAL WITH PREJUDICE                                        83 I 464


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